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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                                 4:17CR3125

     vs.
                                                               ORDER
MARCUS KIM REMUS,

                  Defendant.



       Defense counsel has moved to withdraw due to a conflict of interest.
 (Filing No. 17). Defendant is eligible for appointed counsel pursuant to the
 Criminal Justice Act, 18 U.S.C. §3006A, and the Amended Criminal Justice
 Act Plan for the District of Nebraska.


       IT IS ORDERED:

       1)     Defense counsel's motion to appoint new counsel, (Filing No.
              17), is granted. John C. Vanderslice is hereby withdrawn as
              counsel, and shall promptly notify Defendant of the entry of this
              order.

       2)     The clerk shall delete John C. Vanderslice from any future ECF
              notifications herein.

       3)     The clerk shall forward this memorandum and order to the
              Federal Public Defender.

       4)     The Federal Public Defender shall forthwith provide the court with
              a draft appointment order (CJA Form 20) bearing the name and
              other identifying information of the CJA Panel attorney identified
              in accordance with the Criminal Justice Act Plan for this district.
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      5)    The newly appointed counsel shall promptly file an entry of
            appearance on behalf of Defendant.


    Dated this 10th day of January, 2018.

                                            BY THE COURT:

                                            s/ Cheryl R. Zwart
                                            United States Magistrate Judge




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